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PETER SZANTO 949-887-2369
11 Shore Pine w m ,W g_._j_;
Newporc Beach CA 92657 - 2316 JL§§"'Q €»'@ " ii

;-: ,'~',;;

United States Bankruptcv Court

in and for the District of OREGON
1001 sw 5"‘ Av., Poruand oR 97204

 

 

# 16 -bk-33185 pcm7
|n Re Peter Szanto
Debt°" Adversaria| 18-aQ-03022-gcm
Debtor l Defendant’s:

 

US Trustee, plaintiff

V.

1) Statement of Unwi|lingness to
Szanto` defendant Consent to Entrv of Final Orders
2) Demand for Jurv Tria|

3) Affirmative Defenses 4) Admissions
4) General and Specific Denia|s

5) Answer

6) Counterclaim

7) Joinder of Counterclaim Defendants

Hon. Judge Peter C. McKittrickl presiding

 

 

 

 

Comes now debtor, defendant in response to plaintiff’s ciaims.

l6-bk-33185 Response, Answer, Objections- June 24 --2018 - pg. 1

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a. No Consent to Final Order or Judgment

Pursuant to FRBP 7012(b), defendant does not consent to entry

of final orders by the bankruptcy court.

b. Demand for Jurv Trial

Defendant prays this matter be tried to and by 12 of his peers,

empaneled as a jury.

c. Cbiections to Plaintiff’s False and Erroneous Facts

Plaintiff’s facts as to the following paragraphs are in error:

The following paragraphs in the claim are in error, confusing or

misleading (numbers refer to plaintiffs paragraph numbers:

7. The term several is intended to confuse and mislead. lf a specific

number is alleged, it should be inserted specifical|y.

19. Pursuant to rule defendant used only the Union Bank accounts
at the commencement of his Oregon Bankruptcy. Thereafter, court

permission Was obtained to use HSBC accounts.
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Plaintiff, in an effort intentionally to mislead and bias this Court,
knowingly identifies other accounts which are known by plaintiff to have
at all times herein been under the sole and exclusive control of the
Yankee Trust Corporation, defendant’s spouse, defendant’s children or

related to defendant through the testamentary intentions of Susan
Szanto (lE, designated as pay on death accounts with defendant as

the beneficiary thereof.).

20. continues effort to mislead as described in # 19.

22. to the extent that Szanto erred in this regard, explanation
thereof was stated at time of trial of this issue in November
2017.

24. This sentence is confusing and incomprehensible to defendant
because it is not delimited as to time.

25. Defendant is unable to confirm or deny the HSBC balance
because that bank account was controlled by Susan Szanto as
of the petition date.

26. Defendant is unable to confirm or deny the Ford account
balance because that bank account was controlled by Susan
Szanto as of the petition date.

27. Defendant is unable to confirm or deny the Ford account

“transfer credits” because that bank account was controlled

by Susan Szanto prior to the petition date.

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28. Defendant may have inadvertently or by mistake or through

confusion made an erroneous check on the indicated form.

29. Defendant may have inadvertently or by mistake or through
confusion made an erroneous check on the indicated form.

33. Plaintiff’s continuing efforts to confuse and mislead do not
indicate what change - or the relevance of that change
identified in this paragraph

35. The change statement from “real estate activities” to

“rea| estate activities” is an obvious clerical error; the

allegation thereof is intended to mislead and confuse.

37. As of the petition date, defendant had no control over the

Yankee Trust Co.

39. This pre-petition activity, if accurate, was permitted.

40. This pre-petition activity, if accurate, Was permitted

41. As of the petition date, defendant had no control over the

Yankee Trust Co.

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42. As of the petition date, defendant had no control over the

Yankee Trust Co.

43. Defendant has previously admitted his misreading of this

question, and has corrected same.

44. Defendant has previously admitted his misunderstanding of

this question, and has corrected same.

45. Defendant’s recollection is that he testified, or intended to
testify that he was no longer using any other accounts
besides the Union Bank accounts.

51. Defendant believes there were reporting errors at Union
Bank regarding his the numbering of his various accounts and
other Union Bank accounts controlled by Susan Szanto.

52. Defendant’s spouse had access to the indicated account at
the time specified and defendant did not use that account

until permitted to do so by the Court.

53. Defendant’s spouse had access to the indicated account at
the time specified and defendant did not use that account

until permitted to do so by the Court.

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54. This paragraph is confusing and incomprehensible

55. At about the time indicated HSBC reassigned account
numbers due to changes in corporate structure and the
“opening” was not communicated to defendant.

56. During this time, Susan Szanto had access to the
indicated account and may have made transactions for her

own personal and individual benefit

62. Promptly is a purposefully ambiguous term. Defendant
complied with his obligations as soon as practicable.

63. Defendant has been deprived of the records of these

events and cannot confirm nor deny their accuracy.

64. The account in question was not under defendants

control until the allowed by the Court.

65. Defendant signed the attestation with the understanding
that the Court’s grant of permission to use the HSBC account
was implicit in the statement he signed; it was inadvertence
and a good faith error if the court’s permission did not Waive,
or add to, the approved list of bank accounts.

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lf defendant’s presumption was in error, the error was an
inadvertence of failing to understand the correct facts OR
excusable neglect based on the presumption that the Court’s
permission changed the reporting requirements which had
been noticed to all parties and the trustee.

The US Trustee was an active participant in all
discussions, motions and hearings related to debtor maintaining
an account at a non-list financial institution The trustee was
required to speak about this issue so that the debtor was not
lulled into the security that a matter about which the trustee knew
was being suppressed so as to allow debtor to fall into a trap of
failed reporting about which the trustee fully was aware.

The legal term for this behavior is entrapment and it
reflects upon the trustee’s efforts purposefully not to inform

so as to create vexatious litigation

67. b “Falseness,” if such there was a result of deficiencies
of Union Bank’s online system versus Union Bank’s
printed statements (to Which defendant had no access) and
which were printed specially for the trustee. Had defendant
been apprised of erroneous reporting, he would have taken

steps to resolve the problem.

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68.

Defendant had no intent to falsify and the differences
which may have occurred were not Within defendant’s

control.

The correct term for What occurred is that balances
and representations of activity not within defendants’
control differed on the internet version versus the paper

version.

“Falseness,” if such there Was a result of deficiencies
of Union Bank’s online system versus Union Bank’s
printed statements (to Which defendant had no access) and
Which Were printed specially for the trustee. Had defendant
been apprised of erroneous reporting, he would have taken

steps to resolve the problem.

This problem also resulted from a Union Bank account
that Was not properly closed by Union Bank When the “debtor

in possession” account Was opened

Defendant had no intent to falsify and the
differences Which may have occurred Were not within

defendant's control.

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The correct term for what occurred is that balances
and representations of activity not within defendants’
control differed on the internet version versus the paper

version.

72. Defendant is unaware of the 716 NW Hoyt address

The address debtor inserted on his LLC application

Was 715 NW Hoyt, Portland, which is the correct address
for the LLC. lf another address appears, it Was a mistake
in data entry or perhaps subsequent processing by the

Secretary of State.

73. Prior to transfer to the LLC, a courtroom discussion
occurred Whereat, defendant requested and the Court
assented to the change in business structure for income Tax

efficiency reasons that were discussed on the record

The Court specifically stated that no permission or
formality Was required for such a change in business
structure, because the underlying business remained a
vested sole in a dingle proprietor and proprietorship.

75. Defendant is currently deprived of the documents to confirm

or deny these deposits
Response, Answer, Objections- June 24 --2018 - pg. 9

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76. Defendant is currently deprived of the documents to

confirm or deny these deposits

77. Defendant’s understanding at the time of the Courtroom
that the change in business structure, because before
and after the structure remained a sole proprietorship
vested solely in debtor was neither a sale, transfer or other

disposal and was not outside the ordinary course of business

78. Because only business structure (lE, business form)
changed, no assets of the Bankruptcy estate changed

79. Transfers were not disbursements but merely the

change of business structure

80. Defendant is currently deprived of the documents to

confirm or deny these deposits

81. Defendant is currently deprived of the documents to

confirm or deny this balance.

82. Defendant’s understanding at the time of the Courtroom
that the change in business structure, because before
and after the structure remained a sole proprietorship
vested solely in debtor Was neither a sale, transfer or other

disposal and Was not outside the ordinary course of business

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83. Because only business structure (lE, business form)
changed no assets of the Bankruptcy estate changed

84. Transfers Were not disbursements but merely the

change of business structure.

85. Defendant is currently deprived of the documents to

confirm or deny this balance.

86. Clerical errors occurred to prevent filing.

87. At all times plaintiff was aware of the process of
transfers to the HSBC accounts

92. Defendant produced, prior to the hearing, those documents
available to him based on the limited notice he had for the

meeting.

The trustee was devious and deceptive by failing to
acknowledge receipt of many of these materials

93. Defendant informed the trustee that a Nlotion for a
Motion for a Protective Order was before the Court and
the trustee postponed the hearing. Defendant did not

refuse to answer questions
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97. The plaintiffs recitation of facts is confusing and
incomprehensible and cannot be commented upon by

defendant

99. ln the interim between 8-16-16 and the 10/18/17 certain
accounts which were not used came to defendants attention
and he supplemented his schedules as required

100. Defendant is unaware of this statement or the context in
which it may have been made; and offers the caution that
much of plaintiffs projections about defendant’s alleged
misdeeds are allegorical interpretations derived from the
thousands of times plaintiff has been able to put down other
debtors in actions Wholly unrelated to the facts and events

herein.

101. Defendant is unaware of this statement or the context in

which it may have been made.

102. Defendant is unaware of this statement or the context in

which it may have been made.

103. ln 2014 a Bank of America bank account Was opened
for the Yankee Trust using the Yankee Trust’s Tax payer

identification number.
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104. The trustee was unable to conclude the hearing,
because questions were asked without notice which were

incapable of immediate accurate response Without research.

110. if defendant failed to appear, he did so With permission and

is currently looking for these records

112. Litigation Services used credit card numbers which
defendant had provided to predecessor companies
without permission. The charges were accepted because
these accounts had been maintained as active by Susan

Szanto.

113. Litigation Services charges to these credit cards Was

fraudulent and unknown to debtor.

114. Debtor had cash credits from Litigation Services’
predecessor companies Which he had been advised Were

available to pay for charges in 2017.

Comments attributed to debtor are incorrect. A transcript if

provided will be explained as to the details

119. lf certain accounts were not disclosed, any such lack of

disclosure was merely an oversight, mistake or
Rcsponse, Answer, Objections'- June 24 --2018 - pg. 13

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inadvertence due to records being unavailable to debtor

or records being misplaced or |ost.

125. Silver City reporting is likely an idaho business entity
located in the Jordan Va|ley, in Silver City, ldaho.

126. Defendant is unaware of the question to which this
comment refers, and the presentation is confusing and

inaccurate

127. Defendant stated he was in Jordan Va|ley, not
necessarily that he was within the city limits of Jordan

Vailey, Oregon.

128-132 The area of Jordan Va|ley from Where debtor appeared
telephonicaliy is approximately 20 miles from the Boise, lD
international airport After the hearing defendant flew from
Boise to Santa Ana CA arriving there about 3Pl\/l. Santa Ana
CA airport is less than 300 yards`from the FEDEX office

from which debtor mailed the package in question.

136. Debtor was deprived of the ability to use his E-Trade
account after 11-27-17. Thereafter, money movements were
not within defendants control and likely occurred automatically

based on previously set financial events and circumstances
Response, Answer, Objections- June 24 --2018 - pg. 14

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137. Debtor’s E-Trade accounts were set to make automatic
investments in foreign currency accounts which Were held in
the United States.

140. Debtor is unaware of these transfers
141. Debtor is unaware of these transfers

143. Debtor provided, or was relieved from providing, all of

of the documents requested by the trustee.

145. Debtor turned over all books, documents records and
papers relating to property of the state which were available to

him.

147. Debtor did not file the marital agreement referenced
159. Susan Szanto will insert defendant’s name and social
security number to complete pay on death certifications

and instructions on accounts she opens

160. Debtor disclosed all accounts which he Was required to

disclose

166. Debtor filed Susan Szanto’s dissolution claims in this

Bankruptcy proceeding as a creditor’s claim.
Response, Answer, Objections- June 24 --2018 ~pg. 15

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Debtor retains all right to supplement the recitation and

explanation herein.

d. cA ng T. No wAlvER

The Within answer, the Within affirmative defenses the within
denials and the Within other responses herein do not Waive or alter any

of the contentions in the accompanying Motion to Strike.

Debtor retains all right to supplement as necessary herein.

e. ANSV|LER to FIRST CLAIM FOR RELIEF

1. At ali times debtor’s actions were undertaken in the best of
good faith in regard of full, complete and totally transparent
Bankruptcy disclosure and re-organization.

2. At no time, within one year before the petition date did
debtor intentionally hinder, delay, or defraud any creditor
or the chapter 7 trustee by transferring, removing or
concealing any property enumerated in [Docket Entry 1,

11 171].
3. Debtor generally denies all assertions and ali aspects of this

claim.

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4. Debtor affirmatively states as defense that any access to the
property enumerated may have been undertaken
automatically based on pre-set instructions Which debtor Was
unable to alter after access to his accounts was denied to
him.

5. Debtor believes that control over the accounts enumerated
was Within the power and command of plaintiff and or the
Chapter 7 trustee to manipulate and alter so as to cast
aspersions on defendant’s credibility and demeanor.

6. Since seizing control over the enumerated accounts plaintiff
and the Chapter 7 trustee have engaged in a campaign of
terror and intimidation against defendant and the institutions
enumerated in the complaint and elsewhere so as to conceal
their own manipulation of the accounts in question with the
intent of self-enrichment from the Bankruptcy estate.

f. ANSWER to SECON_D CLAlM FOR REI_._.IEF

7. At all times debtor’s actions Were undertaken in the best of
good faith in regard of full, complete and totally transparent

Bankruptcy disclosure and re-organization.

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8. At no time, after the bankruptcy case Was filed did debtor
intentionally hinder, delay, or defraud any creditor or the
chapter 7 trustee by transferring, removing or concealing any
property enumerated in [Docket Entry 1, 11 173].

9. Debtor generally denies all assertions and all aspects of this
claim.

10. Debtor affirmatively states as defense that any access to
the property enumerated may have been undertaken
automatically based on pre-set instructions Which debtor was
unable to alter after access to his accounts was denied to
him.

11. Debtor believes that control over some of the accounts
enumerated was within the power and command of plaintiff
and or the Chapter 7 trustee to manipulate and alter so as to
cast aspersions on defendant’s credibility and demeanor.

12. Since seizing control over the enumerated accounts
plaintiff and the Chapter 7 trustee have engaged in a

campaign of terror and intimidation against defendant and the

institutions enumerated so as to conceal their own manipulation

of the accounts in question without accountability and without

COnSeqU€nCe.

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_¢LANswER to THIRQ cl=_AlM FoR RELIEF

At ali times debtor’s actions were undertaken in the best
of good faith in regard of full, complete and totally transparent
Bankruptcy disclosure and re-organization.

Debtor is without sufficient information from, or time
indication marker as to, the statements in this claim so as
fully to comprehend what he is accused of doing or not doing
or how he is accused of doing Whatever is alleged

At all times since the commencement of this Bankruptcy
debtor has provided readily, and as reguested books papers
documents records regarding his financial condition.

At no time has debtor concealed destroyed mutilated
falsified or failed to keep or preserve any recorded
information.

Periodica|ly, plaintiff has pretended not to have received
materials from debtor.

Likewise, plaintiff has knowingly made duplicative
requests so as to intentionally harass and annoy debtor for
her own amusement

Debtor generally denies all assertions and all aspects of

this claim.

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23.

Debtor affirmatively states as defense that he undertook
the production of books papers documents records
regarding his financial condition with the utmost care and
diligence and if there were deficiencies or complaints related
to his performance, thereof, those should have been
specifically raised at the time of occurrence and not by
ambush years and months |ater. The defense of laches is
interposed as to matters which could have been asserted
earlier.

Debtor’s further affirmative defense is the fact that the
breadth and depth of the allegations against him demonstrate
ample presentation of book, records etc so as to make
the sweeping vile and offense allegations that have been
made.

Failure to act, if such there were, Were justified by
circumstances such as failures to receive complete and
adequate notice, failures to receive proper and timely
requests for information and documents

Since seizing control over the debtor’s financial life,
plaintiff and the Chapter 7 trustee have engaged in a
campaign of terror and intimidation against defendant so as
to impair all of his ability to secure records to disprove

various of the allegations made herein.

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h. ANSWER to FOURTH CLAlM FOR RELIEF

At all times debtor’s actions were undertaken in the best
of good faith in regard of full, complete and totally
transparent Bankruptcy disclosure and re-organization.

Debtor is without sufficient information from this claim so
as full to comprehend what he is accused of doing or how he
is accused of doing whatever is alleged

The presentation of the claims in this allegation is
confusing and unclear, because the sentences are
incomplete

Statements made by debtor were based on information

obtained and available to debtor which he believed to be
true at the time said statements Were made by him.

Balances at Union Bank Were based on materials

available to debtor at the time the Union Bank statements
were accessed by him online
Debtor cannot answer claim 4, # 177, item b Without
additional specific facts and information about the allegation.

Debtor cannot answer claim 4, # 177, item c Without
additional specific facts and information about the allegation.

Debtor cannot answer claim 4, # 177, item d Without
additional specific facts and information about the allegation.

Debtor cannot answer claim 4, # 177, item e without
additional specific facts and information about the allegation.

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33. Debtor cannot answer claim 4, # 177, item fwithout
additional specific facts and information about the allegation.
34. Debtor cannot answer claim 4, # 177, item g without
additional specific facts and information about the allegation.
35. Debtor cannot answer claim 4, # 177, item h without
additional specific facts and information about the allegation.
36. Debtor cannot answer claim 4, # 177, item i without
additional specific facts and information about the allegation.
37. Debtor cannot answer claim 4, # 177, item j without
additional specific facts and information about the allegation.
38. Debtor cannot answer claim 4, # 177, item k without
additional specific facts and information about the allegation.
39. Debtor cannot answer claim 4, # 177, item l without
additional specific facts and information about the allegation.
40. Debtor generally denies all assertions and ali aspects of
this claim irrespective of the fact that he is perplexed and
confused about what is alleged to have done or failed to do.
41. Debtor affirmatively states as defense that whatever
statements he may have made Which may be the substance
of this claim, he made those statements in good faith and
avers that said statements were true at the time they were

made

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i. ANSWER to FIFTH CLAlM FOR RELIEF

42. At ali times debtor’s actions were undertaken in the best
of good faith in regard of full, complete and totally transparent
Bankruptcy disclosure and re-organization.

43. The allegation of false bank balance report is incorrect
Debtor reported those balances he was provided by Union
Bank.

44. Debtor intentionallv incurred no credit card debt.

45. in 2012 debtor used a credit card belonging to Susan
Szanto on which he Was an authorized user with one or
more of the predecessor companies of Litigation Services
Thereafter, debtor was no longer an authorized user of said
credit card in 2017. l\/larissa Henderson of Litigation services
at the behest of plaintiff and/or Nichoias Henderson used that
credit card (the number being still valid and active and still
being used by Susan Szanto) rather than the cash credits
owed to Peter Szanto to pay debts owed to Litigation
Services This despicable act was done solely to contrive and
create the allegation herein. That is the close personal
relationship between Nichoias Henderson and Marisa
Henderson contrived to use a credit card Without
authorization so as to invent and create facts to be used

against defendant in the claim herein.

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51.

Peter Szanto LLC Was a change in business structure
only which was authorized by this Court and required no
additional reporting, because no financial or accounting
changes occurred And, because the Court stated that no
change of ownership was occurring

Transfer to Peter Szanto LLC, if such there was Was
merely for the purpose of accounting efficiency and had no
material affect on aspect of the Bankruptcy, save to improve
accounting efficiency and operating result reporting.

Debtor affirmatively states as defense that matters
reported as to Union Bank Were reported in good faith.

Debtor affirmatively states as defense that matters
relating to any credit card usage were not authorized by him
at any time after 2013.

Debtor affirmatively states as defense that the name
change as to Peter Szanto, LLC was undertaken solely to
increase and enhance tax reporting efficiency as demanded
by the lRS.

Debtor affirmatively states as defense that no transfers
Within the meaning of that Word occurred merely continuing
reorganization under Chapter 11 so as to enhance and

improve efficiency of reporting.

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j. ANSWER to SIXTH CLAlM FOR RELIEF

52. At ali times debtor’s actions Were undertaken in the best
of faith in regard of full, complete and totally transparent
Bankruptcy disclosure and re-organization.

53. All allegations of debtor swearing a false oath or oaths
are untrue

54. All statements made by debtor Were believed by debtor
to be true at the time he made said statements

55. Plaintiffs allegations are inchoate and make no specific
allegation of any improper action by defendant

56. Debtor affirmatively states as defense that all matters
stated to be true were believed by debtor to be true at the
time he made, if such he did any of those statements

57. Debtor affirmatively states as defense that if any matter
which he stated was untrue that any such statement Was
made by mistake, by inadvertence and / or by excusable
neglect

58. Debtor affirmatively states as defense that if any matter
which he stated Was untrue that any such statement Was
made Without full knowledge of the facts or because facts

were by inadvertence mistake, excusable neglect or the

acts of others unavailable to debtor.

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59. Debtor generally denies all assertions and all aspects of
this claim irrespective of the fact that he is perplexed and
confused about what is alleged to have done or failed to do.

60. Debtor affirmatively states as defense that Whatever
statements he may have made which may be the substance
of this c|aim, he made those statements in good faith and
avers that said statements were true at the time they were

made; if in fact they Were made at all by him.

k. ANSWER to S§VENTH CLAlM FOR RELIEF

61. At all times debtor’s actions were undertaken in the best
of good faith in regard of full, complete and totally transparent
Bankruptcy disclosure and re-organization.

62. All allegations of debtor swearing a false oath or oaths
are untrue

63. All statements made by debtor were believed by debtor
to be true at the time he made said statements if said
statements were actually made

64. Plaintiffs allegations are inchoate and make no specific
allegation of any specific improper action by defendant

65. Debtor affirmatively states as defense that all matters
stated to be true Were believed by debtor to be true at the

time he made any of those alleged statements
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66. Debtor affirmatively states as defense that if any matter
which he stated was untrue that any such statement was
made by mistake by inadvertence and / or by excusable
neglect

67. Debtor affirmatively states as defense that if any matter
which he stated was untrue that any such statement was
made without full knowledge of the facts or because facts

were inadvertently unavailable to debtor, or the incorrect
facts were provided to debtor upon which to predicate his
statements

68. Debtor generally denies all assertions and all aspects of
this claim irrespective of the fact that he is perplexed and
confused about What is alleged to have done or failed to do.

69. Debtor affirmatively states as defense that whatever
statements he may have made which may be the substance
of this claim, he made those statements in good faith and
avers that said statements were true at the time they were
made.

70. Debtor objects to the near identical nature of this cause

based on its similarity to Claim 6.

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I. ANSWER to §IGHTH CLAlM FOR RELIEF

71. At all times debtor’s actions were undertaken in the best
of good faith in regard of full, complete and totally transparent
Bankruptcy disclosure and re-organization.

72. All allegations of debtor swearing a false oath or oaths
are untrue

73. All statements made by debtor Were believed by debtor
to be true at the time he made said statements

74. Plaintiff’s allegations are inchoate and make no specific
allegation of any specific improper action by defendant

75. Debtor affirmatively states as defense that all matters
stated to be true were believed by debtor to be true at the
time he made those statements

76. Debtor affirmatively states as defense that if any matter
which he stated was untrue that any such statement was
made by mistake, by inadvertence and / or by excusable
neglect or because he based them on incorrect states made
to him.

77. Debtor affirmatively states as defense that if any matter
which he stated Was untrue that any such statement was
made without full knowledge of the facts or because facts

Were inadvertently unavailable to debtor.

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Debtor generally denies all assertions and all aspects of
this claim irrespective of the fact that he is perplexed and
confused about what is alleged to have done or failed to do.

Debtor affirmatively states as defense that whatever
statements he may have made which may be the substance
of this ciaim, he made those statements in good faith and
avers that said statements were true at the time they were
made.

Debtor objects to the near identical nature of this cause
to that of other causes of action such that similar allegations
are made with the only difference being the point in time of
the alleged behavior. Debtor contends that allegations
regarding similar events do not create a separate cause of

action.

m. ANSWER to NINTH CLAlM FCR RELlEF

The ninth claim for-relief is not a claim for relief at all, but
rather a conclusion. No specific allegations are made

The ninth claim for relief is not a claim at all, but rather
a duplication of all the other causes of action compressed
to a presumed truth without any facts statements or even
plaintiffs usual expansive elaboration of non-existent facts

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Defendants’ answer is: no, | did not submit a false claim.

At ali times debtor’s actions were undertaken in the best
of good faith in regard of full, complete and totally transparent
Bankruptcy disclosure and re-organization.

All allegations of debtor swearing a false oath or oaths
are untrue

All statements made by debtor were believed by debtor
to be true at the time he made said statements

Plaintiff’s allegations are inchoate and make no specific
allegation of any specific improper action by defendant
(lE, plaintiffs allegations could just as easily refer to any
of the Bankruptcy relief petitions he has filed

Debtor affirmatively states as defense that ali matters
stated to be true were believed by debtor to be true at the
time he made those statements

Debtor affirmatively states as defense that if any matter
which he stated Was untrue that any such statement Was
made by mistake, by inadvertence and / or by excusable
neglect or based on incorrect information he received

Debtor affirmatively states as defense that if any matter
which he stated was untrue that any such statement Was
made without full knowledge of the facts or because facts

were inadvertently unavailable to debtor.

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91. Debtor generally denies all assertions and all aspects of
this claim irrespective of the fact that he is perplexed and
confused about what is alleged to have done or failed to do.

92. Debtor affirmatively states as defense that Whatever
statements he may have made which may be the substance
of this ciaim, he made those statements in good faith and
avers that said statements Were true at the time they were
made

93. Debtor objects to the near identical nature of this cause

to that of other causes of action such that similar allegations
are made with the only difference being the point in time of
the alleged behavior. Debtor contends that allegations
regarding similar events do not create a separate cause of

acHon.

n. ANSWER to TENTH CL._AIM FOR RELIEF

94. The tenth claim for relief is not a claim for relief at a|l, but
rather a conciusion. No specific allegations are made.

95. The tenth claim for relief is not a claim at a|l, but rather
a quasi-summation of all the other causes of action
compressed to a presumed truth Without any facts
statements or even plaintiffs usual expansive elaboration of

non-existent facts

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Defendants’ answer is: no, l did not withhold any
information of any sort from an officer of the estate

At all times debtor’s actions were undertaken in the best
of good faith in regard of full, complete and totally transparent
Bankruptcy disclosure and re-organization.

Plaintiffs allegations are inchoate and make no specific
allegation of any specific improper action by defendant
(lE, plaintiffs allegations could just as easily refer to any
of the Bankruptcy relief petitions he has filed

Debtor affirmatively states as defense that all material
requested to be produced by debtor was produced

100. Debtor affirmatively states as defense that if any material

Which he Was requested to produce Was not produced that
failure Was due to mistake to inadvertence and / or to

excusable neglect

101. Debtor affirmatively states as defense that if any

material which he Was requested to produce was not
produced then it occurred because debtor was Without full
knowledge of the facts or because facts Were inadvertently
unavailable to debtor so as to make production possible

102. Debtor generally denies all assertions and all aspects of

this claim irrespective of the fact that he is perplexed and
confused about what he is alleged to have done or failed to

have done

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103. Debtor affirmatively states as defense that whatever

incidents may be the substance of this ciaim, those incidents
occurred while debtor was acting in good faith and complete

honesty.

0. ANSWER to ELEV_ENTH CLAlM FOR RELIL':'_I_:

104. Debtor is without sufficient information to ascertain what
lawful order he is alleged to have refused to obey and
thereon generally and specifically denies any such
contention.

105. Debtor is without sufficient information to answer,
because violations are stated without specificity as to
action, time or fact pattern.

106. At all times debtor’s actions were undertaken in the best
of faith in regard of full, complete and totally transparent
Bankruptcy disclosure and re-organization.

107. Plaintiffs allegations are inchoate and make no specific
allegation of any specific improper action by defendant
(lE, plaintiffs allegations could just as easily refer to any
of the Bankruptcy relief petitions he has filed

108. Debtor affirmatively states as defense that ali orders of
which he was noticed were carried out as so ordered

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109. Debtor affirmatively states as defense that if any order
by which he Was directed was not carried out, that failure Was

due to mistake to inadvertence and / or to excusable neglect

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110.

Likewise, if an order was not carried out, debtor may

have received instructions which countermanded said orders

111.

Debtor affirmatively states as defense that if any order

he Was ordered to do was not done then that failing occurred

because debtor was Without full knowledge of the facts or

because facts Were inadvertently unavailable to debtor so as

to make carrying out of said order an impossibility.

112.

Debtor generally denies all assertions and all aspects of

this claim irrespective of the fact that he is perplexed and

confused about what he is alleged to have done or failed to

have done

113.

Debtor affirmatively states as defense that whatever

incidents may be the substance of this claim, those incidents

occurred while debtor Was acting in good faith, transparently

and in complete honesty.

D. COUNTERCLAIMS

1. Failure to Supervise l Neqliqent Supervision

The legislated duty and mission of the U. S. Trustee is to

supervise Bankruptcy Debtors in this case, rather than supervise, the

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U. S. Trustee lay in wait, in anticipation and surreptitious fabrication, that

some misdeed might occur.

For example instead of catching the Union Bank discrepancy
when it first arose the U.S. Trustee allowed the alleged problem to
compound for 14 months Thus rather than solving the problem of
erroneous reporting by Union Bank, (when it first occurred) the U.S.
Trustee deviously savored plotted and planned to attack debtor upon a
problem which the U.S. Trustee itself failed adequately to monitor.

This intentional lack of supervision strategy, in a multitude of
areas allows the U.S. Trustee to set-up Bankruptcy debtors for slaughter
by allowing situations to get out of control. The U.S. Trustee intentionally
compounds problems With full knowledge that Judge l\/chittrick has
profound antipathy for even the most minor transgressions (debtor was
even scolded for securing the sharp ends of staples in his filings with tape;
(a protocol learned through employment at the Ca|ifornia Court of Appeals)

which prevents staple puncture wounds which are sometimes severe).

The instant claim contends that it is the intent and goal of the U.S.
Trustee to allow debtors to make mistakes through lack of supervision.
When the transgression, as alleged herein, is sufficiently large the U.S.
Trustee Will pounce to eradicate the debtor with unnecessary debtor’s
meetings fabricated evidence and innuendos about irrelevant matters so

as fully to debase, denigrate and humiliate the debtor.
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The U.S. Trustee’s goal is career enhancement and ever
increasing pay and retirement packages No one at the U.S. Trustee’s
office is going to make any real money from helping and supervising
debtors The big reward in the form of advancements and bonuses comes
from the dramatic crushing of scalawag debtors like debtor herein, on the
basis of situations which Were purposefully allowed to get “out-of-control”
and become unmanageable alito debtor’s detriment

Thereupon, debtor asks that the complaint against him be
dismissed and that he be awarded such damages as Will be proven which
demonstrate the skill with which the U.S. Trustee manipulated a situation
so that it would become commendation and pay raise opportunities rather
than boring “help-the-debtor through difficulties dramas”.

2. Spoliation l Manipu|ation of Evidence angi_
Fraudu|ent Use of Credit Card

Counter-defendant, in concert With Nichoias Henderson and
Niarissa Henderson (an owner of Litigation Services) obtained the
numbers of credit cards Which debtor had used in 2012 and 2013 to pay

predecessor companies of litigation services

in 2017, counter-defendants contrived the following scheme:
without authorization, they would charge deposition bills to the card
numbers debtor used in 2012-13. Even though, debtor no longer used
those credit cards the cards were still active in Susan Szanto’s name and

the charges were accepted
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Piamtiff<then made “fire- and brimstene or debtor by alleging that
debtor purposefully used those cards himself (th e were counter-
defendants’ known faisehood). Ptafntif-§;then exc riated debtor about the
issue of cash - green cash - so as to hold debt r up to scorn and ridicule
based on a scheme of payment (paying With een cash credits from
2013) which the two Hendersons and pla-ia§§ had intentionally altered and
made disappear without debtor’ s knowledge or consent

Counter-plaintiff contends this Was spoiiation of evidence
because debtor’s cash credits were made to disappear. Spoiiated
evidence and fraud occurred by unauthorized use of credit cards which

were authorized by neither Peter Szanto nor Susan Szanto.

Damages as per proof are requested

g. Joinder
Nichoias Henderson and iVlarissa Henderson, counter-

defendants are herewith and hereby mandatorily joined into this action

 

Respectfully, §i»»~:;
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rt\: wm
Dated 6-25 / 2018 /s/ Peter Szanto
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PROOF QF §ERVE_E

My name is Maquisha Reynolds, I am over 21 years of age and not a
party to the within action. My business address is PO Box 14894, Irvine
CA 92623. 0n the date indicated below, I personally served the within:

Answer upon:
Ofrice of the US Trustee
620 SW Main St. # 213

Portiand OR 97205
Nichoias Henderson Marissa Henderson
117 SW Tayior St. 3770 Howard Hughes Plc/vay
Portiand OR 97204 Las Vegas NV 86169

by mailing copies to the above parties via 1st class mai|, postage

prepaid, or by e-mail.

I declare under penalty of perjury under the laws of the United States
that the foregoing is true and correct. Signed at Irvine CA.

43 j rt
Dated 6-25-2018 _g-./ /lr: 112 lei,rt,a.st,/Maguisha Reynoids
t/ //

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